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  9   Attorneys for Defendants
      INTERFOCUS, INC. d.b.a.
 10   www.patpat.com
 11                            UNITED STATES DISTRICT COURT
 12                       CENTRAL DISTRICT OF CALIFORNIA
 13 NEMAN BROTHERS & ASSOC.,                 Case No. 2:20-cv-11181-CAS-JPR
      INC., a California Corporation,
 14                                          DEFENDANT AND COUNTERCLAIM
                  Plaintiff,                 PLAINTIFF INTERFOCUS, INC. d.b.a.
 15                                          WWW.PATPAT.COM RESPONSES TO
            v.                               PLAINTIFF AND COUNTERCLAIM
 16                                          DEFENDANT’S REQUEST FOR
      INTERFOCUS, INC. d.b.a.                ADMISSION
 17 www.patpat.com, a Delaware
      Corporation; CAN WANG, and
 18 individual, and DOES 1-10, inclusive,

 19               Defendants.
 20
    INTERFOCUS, INC. d.b.a.
 21 www.patpat.com, a Delaware
    Corporation; CAN WANG, and
 22 individual, and DOES 1-10, inclusive,

 23               Counterclaim Plaintiffs

 24         v.

 25 NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
 26
                  Counterclaim Defendant.
 27

 28
         DEFENDANT AND COUNTERCLAIM PLAINTIFF’S RESPONSES TO REQUESTS FOR
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  1        Pursuant to Rule 36 of the Federal Rules of Civil Procedure, Defendant and
  2 Counterclaim Plaintiff Interfocus, Inc. d.b.a. www.patpat.com (“Interfocus”), hereby

  3 responds to the Request for Admission (“Requests”) propounded by Plaintiff and

  4 Counter-Defendant Neman Brothers & Assoc., Inc. (“Plaintiffs”) as follows:

  5         PRELIMINARY STATEMENT AND GENERAL OBJECTIONS
  6        These General Objections are incorporated by reference into the response to
  7 each request.

  8        1.     INTERFOCUS objects to the Requests to the extent that they exceed
  9 the scope of discovery or any applicable court rule.

 10        2.     INTERFOCUS objects to the Requests to the extent that they seek
 11 information protected from disclosure by the attorney-client privilege, the work-

 12 product doctrine, or any other applicable privilege. If INTERFOCUS inadvertently

 13 produces any information falling within any applicable privilege, INTERFOCUS

 14 does not intend to waive the applicable privilege.

 15        3.     INTERFOCUS objects to the Requests to the extent that they seek
 16 information that is protected from disclosure by the rights of privacy.

 17        4.     INTERFOCUS objects to the Requests to the extent that they are
 18 vague, ambiguous, overbroad in scope, uncertain as to time, unduly burdensome,

 19 oppressive, or seek information that is neither relevant to the subject matter of this

 20 litigation nor reasonably calculated to lead to the discovery of admissible evidence.

 21        5.     INTERFOCUS objects to the Requests to the extent that they call for or
 22 contain a legal conclusion, opinion, legal argument, or factual or legal

 23 misrepresentation.

 24        6.     INTERFOCUS objects to the Requests to the extent they seek
 25 information that is publicly available and/or within Neman Brothers’ possession,

 26 custody, or control and/or equally available to Neman Brothers.

 27        7.     INTERFOCUS objects to the Requests to the extent they seek the
 28 premature disclosure of expert testimony or information or purport to require
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  1 INTERFOCUS to disclose analyses, opinions, or theories that will be the subject of

  2 expert testimony. INTERFOCUS’ responses to the Requests are made without

  3 prejudice to INTERFOCUS’ right during the further course of these proceedings,

  4 including at trial, to rely upon, refer to, or put into evidence additional expert

  5 information, testimony, or reports.

  6        8.     INTERFOCUS specifically objects to NEMAN BROTHERS’
  7 definition of the terms “YOU or YOUR” in that, as framed, it is excessively broad

  8 and encompasses persons or entities who are not parties to this litigation and/or

  9 whose information or documents are not relevant to the claims and defenses asserted

 10 in this action.

 11        9.     INTERFOCUS’ investigation and discovery into the matters related to
 12 these requests is ongoing. Thus, although INTERFOCUS is providing its best and

 13 most accurate responses to this discovery, it cannot exclude the possibility that the

 14 current responses are incomplete, or even inaccurate. INTERFOCUS therefore

 15 reserves the right to supplement and amend its discovery responses if and when

 16 further, more complete or more accurate information becomes available.

 17        10.    INTERFOCUS objects to NEMAN BROTHERS’ definitions to the
 18 extent they are vague, ambiguous or unintelligible.

 19                   RESPONSES TO REQUEST FOR ADMISSIONS
 20        Subject to and without waiving any of its General Objections, INTERFOCUS
 21 responds more specifically to Plaintiff’s Requests for Admission as follows:

 22
      REQUEST FOR ADMISSION NO. 1:
 23
           Admit that YOU have no evidence to show that YOU have had the right or
 24
      authorization to use the SUBJECT DESIGN.
 25
      RESPONSE TO REQUEST FOR ADMISSION NO. 1:
 26
           Denied.
 27

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            PLAINTIFF’S RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR
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  1 REQUEST FOR ADMISSION NO. 2:

  2       Admit that YOU have no evidence to show that YOU have had a written
  3 agreement to use in any way the SUBJECT DESIGN.

  4 RESPONSE TO REQUEST FOR ADMISSION NO. 2:

  5       Denied.
  6 REQUEST FOR ADMISSION NO. 3:

  7       Admit that YOU have no evidence to show that YOU are entitled to
  8 ownership of the SUBJECT DESIGN.

  9 RESPONSE TO REQUEST FOR ADMISSION NO. 3:

 10       To the extent INTERFOCUS understands this request, admitted.
 11 REQUEST FOR ADMISSION NO. 4:

 12       Admit that YOU have no evidence to show that any VENDOR independently
 13 created the design on the ACCUSED PRODUCT.

 14 RESPONSE TO REQUEST FOR ADMISSION NO. 4:

 15       Denied
 16 REQUEST FOR ADMISSION NO. 5:

 17       Admit that YOU have no evidence to show that YOU or YOUR employee
 18 independently created the design on the ACCUSED PRODUCT.

 19 RESPONSE TO REQUEST FOR ADMISSION NO. 5:

 20       Admitted.
 21 REQUEST FOR ADMISSION NO. 6:

 22       Admit that YOU have no evidence to show that YOUR contractor
 23 independently created the design on the ACCUSED PRODUCT.

 24 RESPONSE TO REQUEST FOR ADMISSION NO. 6:

 25        INTERFOCUS objects to this request as vague and ambiguous as to the
 26 meaning of contractor. To the extent INTERFOCS understands this request, denied.

 27 REQUEST FOR ADMISSION NO. 7:

 28       Admit that YOU have no evidence to establish that any PERSON other than
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           PLAINTIFF’S RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR
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  1 the Plaintiff created the SUBJECT DESIGN.

  2 RESPONSE TO REQUEST FOR ADMISSION NO. 7:

  3        Denied.
  4 REQUEST FOR ADMISSION NO. 8:

  5        Admit that YOU have made an indemnification claim against a Vendor for
  6 the ACCUSED PRODUCT.

  7 RESPONSE TO REQUEST FOR ADMISSION NO. 8:

  8        Denied.
  9 REQUEST FOR ADMISSION NO. 9:

 10        Admit that YOU continued to sell ACCUSED PRODUCT following YOUR
 11 receipt of Plaintiff’s notice about the copyright disputes related to the ACCUSED

 12 PRODUCT such as a cease and desist letter, a summons or a complaint.

 13 RESPONSE TO REQUEST FOR ADMISSION NO. 9:

 14        Denied.
 15 REQUEST FOR ADMISSION NO. 10:

 16        Admit that YOU or YOUR employee made the ACCUSED PATTERN after
 17 seeing the SUBJECT DESIGN.

 18 RESPONSE TO REQUEST FOR ADMISSION NO. 10:

 19        To the extent INTERFOCUS understands this request, denied.
 20 REQUEST FOR ADMISSION NO. 11:

 21        Admit that YOU earned money in connection with the sale of the ACCUSED
 22 PRODUCTS.

 23 RESPONSE TO REQUEST FOR ADMISSION NO. 11:

 24        Based on the spreadsheet, admitted] Admitted that InterFocus received a
 25 small amount of money for a low volume of sales.

 26 INTERROGATORY NO. 12:

 27        Admit that YOU do not claim an ownership interest in any of the SUBJECT
 28 DESIGN.
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           PLAINTIFF’S RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR
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  1 RESPONSE TO REQUEST FOR ADMISSION NO. 12:

  2        Admitted.
  3 INTERROGATORY NO. 13:

  4        Admit that YOU have no evidence to show that YOU had any license to use
  5 the SUBJECT DESIGN.

  6 RESPONSE TO REQUEST FOR ADMISSION NO. 13:

  7        Denied.
  8 INTERROGATORY NO. 14:

  9        Admit that YOU have no evidence to deny that Plaintiff owns a copyright
 10 registration for the SUBJECT DESIGN.

 11 RESPONSE TO INTERROGATORY NO. 14:

 12        Denied.
 13 INTERROGATORY NO. 15:

 14        Admit that YOU have no evidence to deny that the SUBJECT DESIGN is not
 15 original.

 16 RESPONSE TO INTERROGATORY NO. 15:

 17        Denied.
 18 INTERROGATORY NO. 16:

 19        Admit that YOU spent no expense or cost at all in connection with the sale or
 20 purchase of the ACCUSED PRODUCTS.

 21 RESPONSE TO INTERROGATORY NO. 16:

 22        Denied.
 23 INTERROGATORY NO. 17:

 24        Admit that YOU purchased 20,000 units of the ACCUSED PRODUCT.
 25 RESPONSE TO INTERROGATORY NO. 17:

 26        Denied.
 27 INTERROGATORY NO. 18:

 28        Admit that YOU sold over 20,000 units of the ACCUSED PRODUCT.
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           PLAINTIFF’S RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR
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  1 RESPONSE TO INTERROGATORY NO. 18:

  2       Denied.
  3 INTERROGATORY NO. 19:

  4       Admit that YOU placed to VENDORS orders for ACCUSED PRODUCT for
  5 more than 100 times.

  6 RESPONSE TO INTERROGATORY NO. 19:

  7       Denied.
  8 INTERROGATORY NO. 20:

  9       Admit that YOU received from VENDORS invoices to pay for the
 10 ACCUSED PRODUCT for more than 100 times.

 11 RESPONSE TO INTERROGATORY NO. 20:

 12       Denied.
 13 INTERROGATORY NO. 21:

 14       Admit that YOU received orders from YOUR customers for ACCUSED
 15 PRODUCT for more than 100 times.

 16 RESPONSE TO INTERROGATORY NO. 21:

 17       INTERFOCUS objects to this request as vague and ambiguous as to the
 18 meaning of orders. To the extent INTERFOCUS understands this request, denied.

 19 INTERROGATORY NO. 22:

 20       Admit that YOU sent invoices to YOUR customers for the ACCUSED
 21 PRODUCT for more than 100 times.

 22 RESPONSE TO INTERROGATORY NO. 22:

 23       INTERFOCUS objects to this request as vague and ambiguous as to the
 24 meaning of orders. To the extent INTERFOCUS understands this request, denied.

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           PLAINTIFF’S RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR
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  1                                      RIMON, P.C.
  2 Dated: May 3, 2021

  3                                  By: /s/ Mark S. Lee
  4                                      Mark S. Lee
                                         Zheng Liu
  5
                                         Attorneys for Defendants and
  6                                      Counterclaim Plaintiffs
  7                                      INTERFOCUS, INC. d.b.a.
                                         www.patpat.com
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           PLAINTIFF’S RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR
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  1                                    PROOF OF SERVICE
  2         I, Cheryl Lovdahl, am over the age of 18 and not a party to this action. My
  3 place of business is 800 Oak Grove Avenue, Suite 250, Menlo Park, CA 94025. On

  4 May 3, 2021, I served the following attached document(s):

  5       1.         DEFENDANT AND COUNTERCLAIM PLAINTIFF INTERFOCUS, INC.
                     d.b.a. WWW.PATPAT.COM RESPONSES TO PLAINTIFF AND
  6                  COUNTERCLAIM DEFENDANT’S REQUEST FOR ADMISSION

  7 on the person(s) listed below in the following manner/s:

  8
                  BY UNITED STATES MAIL. I enclosed the document(s) in a
  9               sealed envelope or package addressed to the person(s) at the
                  address(es) below and placed the envelope for collection and
 10
                  mailing following our ordinary business practices. I am readily
 11              familiar with this business' practice for collecting and processing
                  documents for mailing. On the same day that correspondence is
 12
                  placed for collection and mailing, it is deposited in the ordinary
 13               course of business with the United States Postal Service in a sealed
 14
                  envelope with postage fully prepaid.
                  BY ELECTRONIC MAIL. I sent the persons below copies of the
 15              documents via electronic mail at the email address(es) below.
 16
            The following party was served the above-referenced document(s):
 17
                              Chan Yong Jeong, Esq. (SBN: 255244)
 18
                                    jeong@jeonglikens.com
 19                                JEONG & LIKENS, L.C.
                                   222 South Oxford Avenue
 20
                                 Los Angeles, California 90004
 21                                 Telephone: 213.688.2001
                                    Facsimile: 213.315.5035
 22

 23            I declare under penalty of perjury under the laws of the State of California
 24 that the foregoing is true and correct.

 25
      DATED: May 3, 2021                                   /s/ Cheryl Lovdahl
 26
                                                           Cheryl Lovdahl
 27

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               PLAINTIFF’S RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR
                                         ADMISSION
